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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

UNITED STATES OF AMERICA §

§ CASE NO. 4:23-er-218
vs.

§

(1) HARDIK JAYANTILAL PATEL, ;

aka Erik aka Mitesh aka Nick aka Dev, and §

(2) DHIRENKUMAR VISHNUBHAI PATEL, :

Defendants. §

ORDER

IT IS the Order of this Court that the Government’s Motion to Unseal is granted. The
indictment and other documents filed in this case are unsealed.

Signed in Houston, Texas, on this day of August, 2023.

Hon. Charles R. Eskridge HI
United States District Judge
